                     Case 1:21-cv-00271-DCN Document 2-1 Filed 06/24/21 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                        District
                                                 __________      of Idaho
                                                            District of __________

      VENENCIO TELLERIA, individually and on                      )
         behalf of similarly situated persons,                    )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No.   1:21-CV-00271-DCN
                                                                  )
      BOISE PIZZA, INC., and PHIL MIKELONIS,                      )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       BOISE PIZZA, INC. may be served via its registered agent Michael Christian at 101 S
                                       Capitol Blvd Ste 930, Boise, ID, 83702, or wherever he may be found.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT

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Date: June 24, 2021                                                                                       
                                                                                       Signature of Clerk or Deputy Clerk
                                                                                                      
                                                                                                   Kimberly Tudela
                                                                                               on Jun 24, 2021 3:50 pm
